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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,                               )
                                                   )
                   Plaintiffs,                     )
                                                   )
   v.                                              ) Case No. 3:22-cv-00049-NKM
                                                   )
   JOSHUA MAST, et al.,                            )
                                                   )
                   Defendants,                     )
                                                   )
   and                                             )
                                                   )
   UNITED STATES SECRETARY OF                      )
   STATE ANTONY BLINKEN, et al.,                   )
                                                   )
                   Nominal Defendants.             )
                                                   )

                          JOINT STIPULATION AND ORDER REGARDING
                                 PARTICIPATION IN DISCOVERY

           Plaintiffs and Defendant Kimberley Motley jointly stipulate as follows: Motley preserves

  all Rule 12 and other defenses in this case, as may be applicable, including but not limited to Rule

  12(b)(2) defenses for lack of personal jurisdiction. Motley may participate in discovery while her

  motion to dismiss for lack of personal jurisdiction is pending, including by responding to Plaintiffs’

  discovery requests and by serving her own requests, without waiving any right or defense.

  Motley’s participation in any such discovery will not constitute a waiver of her rights or defenses

  in this litigation, including her right to contest personal jurisdiction.

           SO ORDERED.

        Date: May 16, 2023
                                          The Honorable Norman K. Moon
                                          U.S. District Judge for the Western District of Virginia
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  Submitted: May 4, 2023.

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